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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:23-CR-162-JAM
11
                                  Plaintiff,             REQUEST FOR CONTINUANCE OF
12                                                       DEADLINE TO SUBMIT SECURED BOND
                            v.
13
     GREGORIO ONTIVEROS VERDUGO,
14
                                 Defendant.              Court: Hon. Deborah Barnes
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17          On June 22, 2023, the Court ordered the defendant released from custody on a $200,000

18 unsecured bond in the interim until a $200,000.00 secured bond is received in place by July 7, 2023.
19 Minutes, ECF No. 17. At the June 22nd hearing, the Court invited defense counsel to request additional

20 time, if needed.

21          Due to a typographical error just discovered on the title report, additional time is needed to make

22 the correction prior to filing the secured bond with the Court. Therefore, defendant Ontiveros requests

23 that the Court extend his deadline to file a $200,000 secured bond from July 7, 2023, to July 14, 2023.

24

25 Dated: July 6, 2023
                                                          Respectfully submitted,
26
                                                          /s/ Candice L. Fields
27                                                        Attorney for Defendant
28                                                        GREGORIO ONTIVEROS VERDUGO

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 1                                         [PROPOSED] ORDER

 2

 3         Defendant Gregorio Ontiveros Verdugo’s request for additional time to file a $200,000 secured

 4 bond is GRANTED. The deadline is extended from July 7, 2023, to July 14, 2023. In the interim, the

 5 $200,000 unsecured bond, executed by defendant’s wife Patricia Ontiveros, shall remain in place.

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 7         IT IS SO ORDERED.

 8 Dated: July 6, 2023

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